  Case 1:21-cv-01057-JTN-RSK ECF No. 2, PageID.131 Filed 12/15/21 Page 1 of 1
 W DMI Corporate Disclosure Statement pursuant to Fed. R. Civ. P. 7.1 or Fed. R. Crim. P. 12.4 (4/06)




                                             UNITED STATES DISTRICT COURT
                                             WESTERN DISTRICT OF MICHIGAN

Dana Nessel


                       Plaintiff(s),                                             Case No.               21-cv-

 v.

Enbridge Energy, Limited Partnership, et al.

             Defendant(s).
 __________________________________/


             DISCLOSURE OF CORPORATE AFFILIATIONS AND FINANCIAL INTEREST

                                                                                               Enbridge Energy Company, Inc.
 Pursuant to Federal Rule of Civil Procedure 7.1,                                   _________________________________
                                                                                                             (Party Name)
 makes the following disclosure:

            1. Is party a publicly held corporation or other publicly held entity? ✔ Yes                                       No

            2. Does party have any parent corporations? ✔ Yes            No
               If yes, identify all parent corporations, including grandparent and great-grandparent
               corporations:

                   Enbridge Energy Company, Inc. is owned by Enbridge (U.S.) Inc., which is
                   an indirect subsidiary of Enbridge Inc., a Canadian public corporation that
                   trades in the United States on the New York Stock Exchange.
            3. Is 10% or more of the stock of party owned by a publicly held corporation or other
               publicly held entity? ✔ Yes       No
               If yes, identify all such owners:

                   See response above.



            4. Is there any other publicly held corporation or other publicly held entity that has a direct
               financial interest in the outcome of the litigation? ✔ Yes        No
               If yes, identify entity and nature of interest:

                  See response above.




                          12/15/2021                                              /s/ Peter H. Ellsworth
 Date: __________________________                                                                                (Signature)
                                                                                  Peter H. Ellsworth (P23657)
                                                                                  Dickinson Wright PLLC
                                                                                  123 W. Allegan Street, Suite 900
                                                                                  Lansing, Michigan 48933
                                                                                  pellsworth@dickinsonwright.com
